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                             9
                                 (pro hac vice application to be filed)
                            10
                                 Attorneys for Plaintiffs
                            11
ADVANCING LAW FOR ANIMALS




                            12                                UNITED STATES DISTRICT COURT
                                                            EASTERN DISTRICT OF CALIFORNIA
                            13
                                                                   SACRAMENTO DIVISION
                            14
                                 E.L., a minor, by and through her general     Case No. 2:22-cv-01527-DAD-AC
                            15   guardian, JESSICA LONG; JESSICA LONG, an
                                 individual,
                            16                   Plaintiffs,
                                          v.                                   NOTICE OF SETTLEMENT PURSUANT
                            17   LIEUTENANT JERRY FERNANDEZ, in his            TO LOCAL RULE 160 BETWEEN
                                 individual capacity; DETECTIVE JACOB          PLAINTIFFS AND DEFENDANTS
                            18                                                 LIEUTENANT JERRY FERNANDEZ,
                                 DUNCAN, in his individual capacity;
                            19   DETECTIVE JEREMY ASHBEE, in his               DETECTIVE JACOB DUNCAN,
                                 individual capacity; SHASTA DISTRICT FAIR DETECTIVE JEREMY ASHBEE, COUNTY
                            20   AND EVENT CENTER, a district agricultural     OF SHASTA, AND SHASTA COUNTY
                                 association; COUNTY OF SHASTA; SHASTA SHERIFF’S DEPARTMENT AND
                            21                                                 STIPULATION TO WITHDRAW PENDING
                                 COUNTY SHERIFF’S DEPARTMENT;
                            22   MELANIE SILVA, in her individual and official MOTION FOR SUMMARY JUDGMENT
                                 capacity; BJ MACFARLANE, in his individual (ECF No. 99)
                            23   and official capacity; KATHIE MUSE, in her
                                 individual and official capacity, and DOES 1  Trial Date: October 7, 2024
                            24   through 10,
                                                 Defendants.                   Action Filed: August 31, 2022
                            25
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                                                                               1
                                                        NOTICE OF SETTLEMENT PURSUANT TO LOCAL RULE 160
                                   Case 2:22-cv-01527-DAD-AC Document 105 Filed 08/28/24 Page 2 of 2



                             1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS:

                             2          In accordance with Local Rule 160, Plaintiffs E.L. and Jessica Long (collectively, “Plaintiffs”)
                             3   and Defendants Lieutenant Jerry Fernandez, Detective Jacob Duncan, Detective Jeremy Ashbee,

                             4   County of Shasta, and Shasta County Sheriff’s Department (collectively, “County Defendants”) hereby
                             5   give notice that they have reached a resolution of the matters between those parties. The parties are in
                             6   the process of drafting documents memorializing the settlement and intend to file dispositional
                             7   documents based on the response from this Court as described in Local Rule 160(b).
                             8          Additionally, County Defendants filed a Motion for Summary Judgment (ECF No. 99) on July
                             9   31, 2024, and Plaintiffs’ opposition to same is due September 4, 2024. Due to the agreement to settle
                            10   reached between the parties, County Defendants and Plaintiffs request that the Court take the County
                            11   Defendants’ pending motion for summary judgment off-calendar.
ADVANCING LAW FOR ANIMALS




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                                 IT IS SO STIPULATED.
                            13
                            14
                                                                              Respectfully submitted,
                            15
                            16                                                ADVANCING LAW FOR ANIMALS
                            17
                                 Dated: August 28, 2024                       By:    /s/Ryan Gordon
                            18                                                Ryan Gordon
                                                                              Vanessa Shakib
                            19                                                Attorneys for Plaintiffs
                            20
                            21                                                BEST BEST & KRIEGER LLP
                            22
                                 Dated: August 28, 2024                       By:    /s/Damian A. Northcutt
                            23                                                Christopher M. Pisano
                                                                              Damian A. Northcutt
                            24
                                                                              Attorneys for Defendants Lieutenant Jerry Fernandez,
                            25
                                                                              Detective Jacob Duncan, Detective Jeremy Ashbee,
                            26                                                Shasta County, and Shasta County Sheriff’s Office

                            27
                            28
                                                                              2
                                                       NOTICE OF SETTLEMENT PURSUANT TO LOCAL RULE 160
